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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                             :
TIMOTHY LEWIS,                               :
                                             :       Civil Action No. 18-10135 (BRM)(DEA)
                      Plaintiff,             :
                                             :
                      v.                     :       OPINION
                                             :
MICHAEL B. ROBERTS, et al.,                  :
                                             :
                      Defendants.            :
                                             :


       Before this Court is pro se pre-trial detainee Timothy Lewis’s (“Plaintiff”) civil rights

complaint, filed pursuant to 42 U.S.C. § 1983, and application to proceed in forma pauperis. (ECF

Nos. 1, 3.) Having reviewed Plaintiff’s affidavit of indigence (ECF No. 3), Plaintiff’s application

to proceed in forma pauperis is GRANTED and the Clerk of the Court shall file the Complaint.

       At this time, the Court must review the Complaint, pursuant to 28 U.S.C. §§ 1915(e)(2)

and 1915A, to determine whether it should be dismissed as frivolous or malicious, for failure to

state a claim upon which relief may be granted, or because it seeks monetary relief from a

defendant who is immune from such relief. For the reasons set forth below, and for good cause

appearing, Plaintiff’s Complaint is DISMISSED WITHOUT PREJUDICE.

I. BACKGROUND

       According to the Complaint, Plaintiff’s court-appointed private attorney, defendant

Michael B. Roberts (“Roberts”), is “in collusion with the Criminal Court Middlesex County

Superior Division and he is violating [Plaintiff’s] rights by not allowing [him] to represent
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[himself].” (ECF No. 1 ¶ 4(b).) 1 Roberts no longer allows Plaintiff to come to court for

appearances. (Id. at ¶ 6.) Defendant John H. Johnson (“Johnson”), the Supervisor of the Middlesex

County Public Defender’s Office, is, according to Plaintiff, allowing Roberts to prevent Plaintiff

from representing himself in his criminal proceeding. (Id. at ¶ 4(c).) Plaintiff seeks unspecified

injunctive relief. (Id. at ¶ 7.)

II. LEGAL STANDARD

A. Standard for a Sua Sponte Dismissal

        Pursuant to the Prison Litigation Reform Act, Pub. L. No. 104-134, §§ 801-810, 110 Stat.

1321-66 to 1321-77 (April 26, 1996) (“PLRA”), district courts must review complaints in those

civil actions in which a prisoner is proceeding in forma pauperis, see 28 U.S.C. § 1915(e)(2)(B),

seeks redress against a governmental employee or entity, see 28 U.S.C. § 1915A(b), or brings a

claim with respect to prison conditions, see 42 U.S.C. § 1997e. The PLRA directs district courts

to sua sponte dismiss any claim that is frivolous, is malicious, fails to state a claim upon which

relief may be granted, or seeks monetary relief from a defendant who is immune from such relief.

This action is subject to sua sponte screening for dismissal under 28 U.S.C. § 1915(e)(2)(B) and

1915A because Plaintiff is a prisoner who is proceeding as indigent.

        According to the Supreme Court’s decision in Ashcroft v. Iqbal, “a pleading that offers

‘labels or conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”

556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). To

survive sua sponte screening for failure to state a claim, the complaint must allege “sufficient

factual matter” to show that the claim is facially plausible. Fowler v. UPMS Shadyside, 578 F.3d



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 The factual allegations are taken from the Complaint and are accepted as true for purposes of this
screening only. The Court has made no findings as to the veracity of Plaintiff’s allegations.

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203, 210 (3d Cir. 2009) (citation omitted). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Belmont v. MB Inv. Partners, Inc., 708 F.3d 470, 483 n.17 (3d Cir.

2012) (quoting Iqbal, 556 U.S. at 678). Moreover, while pro se pleadings are liberally construed,

“pro se litigants still must allege sufficient facts in their complaints to support a claim.” Mala v.

Crown Bay Marina, Inc., 704 F.3d 239, 245 (3d Cir. 2013) (citation omitted).

B. Section 1983 Actions

       A plaintiff may have a cause of action under 42 U.S.C. § 1983 for certain violations of his

constitutional rights. Section 1983 provides in relevant part:

               Every person who, under color of any statute, ordinance,
               regulation, custom, or usage, of any State or Territory . . .
               subjects, or causes to be subjected, any citizen of the United
               States or other person within the jurisdiction thereof to the
               deprivation of any rights, privileges, or immunities secured by
               the Constitution and laws, shall be liable to the party injured in
               an action at law, suit in equity, or other proper proceeding for
               redress . . . .

       Therefore, to state a claim for relief under § 1983, a plaintiff must allege, first, the violation

of a right secured by the Constitution or laws of the United States and, second, the alleged

deprivation was committed or caused by a person acting under color of state law. See West v.

Atkins, 487 U.S. 42, 48 (1988); Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011).

III. DECISION

        Plaintiff’s claims against Roberts and Johnson are subject to dismissal because neither

public defenders nor private attorneys are “state actors” under § 1983. 2 See Vermont v. Brillon,




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  Plaintiff also names Joseph Krakora in the Complaint, however, he does not provide any
information about this individual or allege any specific facts against him. As such, he will be
dismissed without prejudice.
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556 U.S. 81, 91 (2009) (“[T]he relationship between a defendant and the public defender

representing him is identical to that existing between any other lawyer and client. Unlike a

prosecutor or the court, assigned counsel ordinarily is not considered a state actor.”) (citation and

quotation omitted); Walker v. Pennsylvania, 580 F. App’x 75, 78 (3d Cir. 2014) (noting that public

defenders and private attorneys are not state actors when acting as defense counsel and “are

absolutely immune from civil liability under § 1983” for actions taken in that capacity). More

specifically, “a public defender does not act under color of state law when performing a lawyer’s

traditional functions as counsel to a defendant in a criminal proceeding.” Polk Cty. v. Dodson, 454

U.S. 312, 325 (1981); see also Carter v. Kane, No. 17-3026, 2017 WL 6523355, at *2 (3d Cir.

Dec. 21, 2017). The allegations against these individuals are in their capacity as counsel to a

defendant in a criminal proceeding. Therefore, Plaintiff has not satisfied the “under color of state

law” element of § 1983.

       However, where a public defender conspires with the State to deprive an individual of his

rights, the public defender is not immune from civil liability under § 1983. See Tower v. Glover,

467 U.S. 914, 916–20 (1984) (finding a public defender who allegedly conspired with judges and

the state attorney general to obtain the criminal defendant’s conviction was acting under color of

state law); Bierley v. Abate, 661 F. App’x 208, 209 n.3 (3d Cir. 2016) (noting “private individuals

may nonetheless be liable under § 1983 if they have conspired with or engaged in joint activity

with state actors”).

       In order to plead conspiracy under § 1983, a plaintiff must “provide some factual basis to

support the existence of the elements of a conspiracy: agreement and concerted action.”

Capogrosso v. The Supreme Court of New Jersey, 588 F.3d 180, 185 (3d Cir. 2009). A bare

allegation of an agreement is insufficient to sustain a conspiracy claim. See Brown v. Deparlos,



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492 F. App’x 211, 215 (3d Cir. 2012). Furthermore, “a § 1983 conspiracy claim is not actionable

without an actual violation of § 1983.” Cherry v. Borough of Tuckerton, No. 16–505, 2016 WL

7030428, at *3 (D.N.J. Dec. 1, 2016) (internal quotation marks and citations omitted).

       Here, Plaintiff states the three defendants are not letting him represent himself and Roberts

is “in collusion” with the Middlesex County Superior Court. Such bare allegations of a conspiracy

fail to satisfy the pleading standard under Iqbal. See Twombly, 550 U.S. at 556–57 (finding that,

at the pleading stage, “an allegation of parallel conduct and a bare assertion of conspiracy will not

suffice. Without more, parallel conduct does not suggest conspiracy, and a conclusory allegation

of agreement at some unidentified point does not supply facts adequate to show illegality”);

Himchak v. Dye, 684 F. App’x 249, 253 (3d Cir. 2017) (conclusory allegations of conspiracy are

not sufficient to plead a claim these attorneys conspired with any state actors).

IV. CONCLUSION

       For the reasons stated above, Plaintiff’s Complaint is DISMISSED WITHOUT

PREJUDICE in its entirety pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A for failure to state

a claim upon which relief may be granted. Because it is conceivable Plaintiff may be able to

supplement his pleading with facts sufficient to overcome the deficiencies noted herein, Plaintiff

may file an amended complaint accompanied by a motion to reopen this case. An appropriate order

will follow.

Dated: August 2, 2018


                                                      /s/ Brian R. Martinotti
                                                      HON. BRIAN R. MARTINOTTI
                                                      UNITED STATES DISTRICT JUDGE




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